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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                     Case No. 9:07-cv-80138-DMM (Middlebrooks/Johnson)

   SAMIRA SULLIVAN, on her own
   behalf and others similarly situated,

                 Plaintiff,

   v.

   LANA MARKS LTD, INC.,
   a Florida corporation, and
   LANA J. MARKS, individually,

                 Defendants.
                                           /

                  DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES

          COME NOW the Defendants, LANA MARKS LTD, INC., a Florida corporation, and

   LANA J. MARKS, individually (hereinafter collectively referred to as “Defendants”), by and

   through their undersigned counsel, and hereby file their Answer and Affirmative Defenses,

   as follows:

          Defendants deny each and every allegation of the Plaintiff’s Complaint not expressly

   or otherwise admitted below. Defendants also specifically reserve the right to assert any

   additional affirmative defenses in matters of avoidance that may be disclosed during the

   course of additional investigation and discovery.        Defendants’ Answer to each of the

   specifically enumerated paragraphs of the Plaintiff’s Complaint is as follows:

   1.     W ith regard to Paragraph 1 of the Plaintiff’s Complaint, Defendants admit that Plaintiff

          purports to bring this action on her own behalf and others similarly situated, but deny

          that there are any individuals similarly situated to Plaintiff for purposes of opting in to


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        this litigation and/or who desire to opt in. Further, to the extent not expressly admitted

        otherwise, Defendants deny each and every other allegation, inference and legal

        conclusion contained in Paragraph 1 of the Plaintiff’s Complaint and demand strict

        proof thereof.

   2.   W ith regard to Paragraph 2 of the Plaintiff’s Complaint, Defendants admit that the

        corporate Defendant does business in Palm Beach County, Florida, and is within the

        jurisdiction of this Court. Further, to the extent not expressly admitted otherwise,

        Defendants deny each and every other allegation, inference and legal conclusion

        contained in Paragraph 2 of the Plaintiff’s Complaint and demand strict proof thereof.

   3.   Defendants deny the allegations, inferences and legal conclusions contained in

        Paragraph 3 of the Plaintiff’s Complaint and demand strict proof thereof.

   4.   W ith regard to Paragraph 4 of the Plaintiff’s Complaint, Defendants state that it is an

        averment to which no responsive pleading is necessary. Further, Defendants deny

        the allegations, inferences and legal conclusions contained in Paragraph 4 of the

        Plaintiff’s Complaint and demand strict proof thereof.

   5.   Defendants deny the allegations, inferences and legal conclusions contained in

        Paragraph 5 of the Plaintiff’s Complaint and demand strict proof thereof.

   6.   Defendants deny the allegations, inferences and legal conclusions contained in

        Paragraph 6 of the Plaintiff’s Complaint and demand strict proof thereof. Further,

        Defendants deny that there exist any other similarly situated individuals and/or that

        any other similarly situated individuals desire to opt-in to this action and demand strict

        proof thereof.

   7.   Defendants deny the allegations, inferences and legal conclusions contained in

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         Paragraph 7 of the Plaintiff’s Complaint and demand strict proof thereof. Further,

         Defendants deny that there exist any other similarly situated individuals and/or that

         any other similarly situated individuals desire to opt-in to this action and demand strict

         proof thereof.

   8.    Defendants deny the allegations, inferences and legal conclusions contained in

         Paragraph 8 of the Plaintiff’s Complaint and demand strict proof thereof. Further,

         Defendants deny that there exist any other similarly situated individuals and/or that

         any other similarly situated individuals desire to opt-in to this action and demand strict

         proof thereof.

   9.    Defendants admit that the corporate Defendant is in possession, custody and control

         of time and pay records relating to the Plaintiff’s employment. Further, Defendants

         deny the allegations, inferences and legal conclusions contained in Paragraph 9 of

         the Plaintiff’s Complaint and demand strict proof thereof. Still further, Defendants

         deny that there exist any other similarly situated individuals and/or that any other

         similarly situated individuals desire to opt-in to this action and demand strict proof

         thereof.

   10.   Defendants deny the allegations, inferences and legal conclusions contained in

         Paragraph 10 of the Plaintiff’s Complaint and demand strict proof thereof.

   11.   W ith regard to Paragraph 11 of the Plaintiff’s Complaint, Defendants restate, reallege

         and incorporate herein each and every response to Plaintiff’s Complaint contained

         in Paragraphs 1-10 above.

   12.   Defendants deny the allegations, inferences and legal conclusions contained in

         Paragraph 12 of the Plaintiff’s Complaint and demand strict proof thereof. Further,

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         Defendants deny that there exist any other similarly situated individuals and/or that

         any other similarly situated individuals desire to opt-in to this action and demand strict

         proof thereof.

   13.   Defendants deny the allegations, inferences and legal conclusions contained in

         Paragraph 13 of the Plaintiff’s Complaint and demand strict proof thereof. Further,

         Defendants deny that there exist any other similarly situated individuals and/or that

         any other similarly situated individuals desire to opt-in to this action and demand strict

         proof thereof.

   14.   Defendants deny the allegations, inferences and legal conclusions contained in

         Paragraph 14 of the Plaintiff’s Complaint and demand strict proof thereof. Further,

         Defendants deny that there exist any other similarly situated individuals and/or that

         any other similarly situated individuals desire to opt-in to this action and demand strict

         proof thereof.

   15.   W ith regard to Paragraph 15 of the Plaintiff’s Complaint, Defendants state that it is

         an averment to which no responsive pleading is necessary.

         Defendants deny that Plaintiff or any other individual is entitled to any of the damages

   or relief sought in the W HEREFORE clause of Count I of the Plaintiff’s Complaint.

                                   AFFIRMATIVE DEFENSES

   16.   As and for their First Affirmative Defense, and to the extent that Plaintiff attempts to

         bring this action on behalf of other similarly situated employees, Defendants state

         that there exist no similarly situated employees and/or no similarly situated employees

         desire to opt-in to this action.

   17.   As and for their Second Affirmative Defense, Defendants state that none of their

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         actions were “willful”, as said term is defined by the Fair Labor Standards Act,

         regulations, and interpretive case law.

   18.   As and for their Third Affirmative Defense, Defendants state that the Plaintiff’s claim

         for liquidated damages is barred because Defendants at all times material hereto

         acted in good faith and had reasonable grounds for believing that their policies and

         practices were not violations of the FLSA, as amended.

   19.   As and for their Fourth Affirmative Defense, Defendants state that all or part of the

         Plaintiff’s claims are barred by the applicable statute of limitations.

   20.   As and for their Fifth Affirmative Defense, Defendants state that the Plaintiff’s claims

         are barred by the estoppel provisions of the Portal-to-Portal Act, to the extent that

         Plaintiff purports to bring this action as a representative action.

   21.   As and for their Sixth Affirmative Defense, Defendants state that the Plaintiff’s claims

         against MARKS in her individual capacity are barred because she is not an

         “employer” within the meaning of the Fair Labor Standards Act.

   22.   As and for their Seventh Affirmative Defense, Defendants state that the Plaintiff’s

         claims are barred because Defendants at all times material hereto acted in good faith

         in conformity with and in reliance on written administrative regulations, order, rulings,

         approvals and/or interpretations of the Administrator of the W age and Hour Division

         of the Department of Labor.

   23.   As and for their Eighth Affirmative Defense, Defendants state that the Plaintiff’s

         claims are barred by the “de minimus” doctrine.

   24.   As and for their Ninth Affirmative Defense, Defendants state that the Plaintiff’s claims

         are barred to the extent any hours worked by the Plaintiff over forty in any particular

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         workweek was without the knowledge, either actual or constructive, of the

         Defendants.

   25.   As and for their Tenth Affirmative Defense, Defendants state that the Plaintiff’s claims

         are barred because she has been properly paid.

   26.   As and for their Eleventh Affirmative Defense, Defendants state that the Plaintiff’s

         claims are barred in whole or in part by the exemptions, exclusions, and credits

         provided for under the FLSA and the regulations promulgated thereunder.

   27.   As and for their Twelfth Affirmative Defense, Defendants state that the Plaintiff’s

         Complaint fails to state a claim upon which relief may be granted.

   28.   As and for their Thirteenth Affirmative Defense, Defendants state that the Plaintiff’s

         Complaint is barred by section 207(i) of the Act.

   29.   As and for their Fourteenth Affirmative Defense, Defendants state that to the extent

         the Plaintiff obtains any recovery based on her FLSA claims, Plaintiff’s claims for

         attorneys’ fees and costs are barred based on the authority of Goss v. Killian Oaks

         House of Learning, 248 F. Supp. 2d 1162 (S.D. Fla. 2003).

   30.   As and for their Fifteenth Affirmative Defense, Defendants state that there is no

         enterprise or individual coverage.

   31.   As and for their Sixteenth Affirmative Defense, Defendants state that the Plaintiff’s

         claims are barred because this Court lacks subject matter jurisdiction over this matter.

   32.   As and for their Seventeenth Affirmative Defense, Defendants state that to the extent

         Plaintiff is entitled to any overtime wages, she only is owed “half-time” for any hours

         worked in excess of forty (40) during any particular workweek.

   33.   As and for their Eighteenth Affirmative Defense, Defendants state that the Plaintiff’s

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         claim has been brought in bad faith in violation of Rule 11, Federal Rules of Civil

         Procedure.

   34.   As and for their Nineteenth Affirmative Defense, Defendants state that the Plaintiff is

         estopped from bringing the claims at issue by virtue of her own conduct and actions.

   35.   As and for their Twentieth Affirmative Defense, Defendants state that the Plaintiff’s

         claims are subject to a complete and/or partial setoff by virtue of the damage suffered

         by the Defendants as a result of the Plaintiff’s breach of fiduciary duty of loyalty.

   36.   As and for their Twenty-First Affirmative Defense, Defendants state that the Plaintiff’s

         claims are subject to a complete and/or partial setoff by virtue of the damage suffered

         by the Defendants as a result of the Plaintiff’s defamation of the Defendants.

   37.   As and for their Twenty-Second Affirmative Defense, Defendants state that the

         Plaintiff’s claims are subject to a complete and/or partial setoff by virtue of the

         damage suffered by the Defendants as a result of the Plaintiff’s intentional

         interference with the Defendants’ contracts and/or business relations.

   38.   As and for their Twenty-Third Affirmative Defense, Defendants state that Plaintiff’s

         claims are barred in whole or in part by the doctrine of unclean hands.

   39.   As and for their Twenty-Fourth Affirmative Defense, Defendants state that Plaintiff’s

         claims are barred in whole or in part due to Plaintiff’s failure to accurately record the

         number of hours she worked.

   40.   As and for their Twenty-Fifth Affirmative Defense, and to the extent Plaintiff is entitled

         to overtime wages under the FLSA and the regulations promulgated thereunder,

         Plaintiff’s claims for overtime wages are barred in whole or in part due to Plaintiff

         improperly recording hours that she did not actually work, and Defendants are entitled

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          to a set-off for any such improperly recorded hours.

          W HEREFORE, having fully answered the Plaintiff’s Complaint, Defendants pray that

   this Honorable Court dismiss with prejudice Plaintiff’s claims in full, tax costs against the

   Plaintiff and in favor of the Defendants, and reserve jurisdiction to consider a timely filed

   motion for attorneys’ fees on the authority of Kreager v. Solomon & Flanagan, P.A., 775 F.2d

   1541 (11 th Cir. 1985).


   Dated: June 25, 2007                      Respectfully submitted,
          Boca Raton, FL


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                                     Certificate of Service

          I hereby certify that on June 25, 2007, I electronically filed the foregoing document

   with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

   served this day on all counsel of record identified on the attached Service List via

   transmission of Notices of Electronic Filing generated by CM/ECF




                               /s Daniel R. Levine
                               DANIEL R. LEVINE, ESQ.




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                                      SERVICE LIST
            SAMIRA SULLIVAN v. LANA MARKS LTD, INC. and LANA J. MARKS
                 Case No. 9:07-cv-80138-DMM (Middlebrooks/Johnson)
                 United States District Court, Southern District of Florida

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